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                     Exhibit
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                                                                                   McDonald Hopkins LLC
                                                                                   600 Superior Avenue, East
                                                                                   Suite 2100
                                                                                   Cleveland, OH 44114

                                                                                   P 1.216.348.5400
                                                                                   F 1.216.348.5474


Direct Dial: 216.348.5730
E-mail: mcavanagh@mcdonaldhopkins.com



                     *** CONFIDENTIAL AND SUBJECT TO FRE 408 ***

January 8, 2021

Via Email (rg@gilelawgroup.com)

Ryan Gile, Esq.
GILE LAW GROUP
The Canyons at Summerlin
1180 No. Town Center Dr., Ste. 100
Las Vegas, NV 89144

Re:      Spectrum’s Synthetic Urine Patents

Dear Mr. Gile:
I write on behalf of Spectrum Laboratories, LLC regarding your client Aim High Investment
Group, LLC’s synthetic urine product, XStream. I previously wrote to you regarding Spectrum’s
concerns that XStream infringes Spectrum’s U.S. Patent Nos. 7,192,776 and 9,128,105.

In past correspondence, you asserted that the “XStream product does not contain a biocide” and
requested Spectrum’s evidence of infringement. After careful consideration of your request,
Spectrum has authorized me to produce the attached test report of XStream.1 We provide this test
report confidentially and under FRE 408, request that you and Aim High not share the report and
its contents with any third-parties, and make this disclosure without any waiver of privilege or
work-product. The report shows that the XStream product tested positive for two different
biocides: methylisothiazolinone and chloromethylisothiazolinone. Each of these biocides is an
isothiazoline, which is a claimed biocide in both patents. Based on this, we request that Aim
High provide the following:

         (1)   All past and present formulas for XStream, which I will agree to maintain as
               “Attorneys’ Eyes Only” and not share with Spectrum;

         (2)   An affidavit by a representative from Aim High with relevant knowledge
               and authority to speak for the company that (a) verifies as accurate the
               formulas provided, and (b) confirms that Aim High has never used any of
               the claimed biocides in its synthetic urine products; and

1
 We have redacted information from the report concerning testing of other products unrelated to XStream
and Aim High.


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Ryan Gile, Esq.
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         (3)   A promise to notify Spectrum if changes to the formula occur and to provide
               the new formula(s), which will be maintained as “Attorneys’ Eyes Only” by
               me and not shared with Spectrum.

Please provide the courtesy of a response by January 22, 2021. Meanwhile, please feel free to
call or write if you have questions, concerns, or would like to discuss further.

Sincerely,

s/ Matthew J. Cavanagh

Matthew J. Cavanagh




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